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FELED
UNITED STATES DISTRICT COURT
EXICO
IN THE UNITED STATES DISTRICT COURPUQUERQUE, NEW M

FOR THE DISTRICT OF NEW MEXICO JUN 27 2018

MITCHELL R. ELFERS

UNITED STATES OF AMERICA, )

) CLERK
Plaintiff, ) CRIMINAL NO. | q _ 1BZO MV
)
VS. ) Counts 1 and 2: 18 U.S.C. § 1014:

) False Statement on a Loan or Credit

CHRISTOPHER DEON DELGADO, ) Application
)

Defendant. )
INDICTMENT
The Grand Jury charges:

Count 1

On or about November 15, 2018, in Bernalillo County, in the District of New Mexico and
elsewhere, the defendant, CHRISTOPHER DEON DELGADO, did knowingly make a false
statement on a consumer credit application for the purpose of influencing the actions of First
Financial Credit Union, an institution whose accounts are insured by the National Credit Union
Administration.

In violation of 18 U.S.C. § 1014.

Count 2

On or about December 13, 2018, in Bernalillo County, in the District of New Mexico and
elsewhere, the defendant, CHRISTOPHER DEON DELGADO, did knowingly make a false
statement on a consumer credit application for the purpose of influencing the actions of Rio
Grande Credit Union, an institution whose accounts are insured by the National Credit Union

Administration
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In violation of 18 U.S.C. § 1014.

A TRUE BILL:

/s/

 

FOREPERSON OF THE GRAND JURY

 

 

 

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